
47 So.3d 965 (2010)
John MARSHALL, Appellant,
v.
The STATE of Florida, Appellee.
No. 3D10-1913.
District Court of Appeal of Florida, Third District.
November 17, 2010.
John Marshall, in proper person.
Bill McCollum, Attorney General, and Lunar Alvey, Assistant Attorney General, for appellee.
Before SUAREZ, ROTHENBERG and SALTER, JJ.
PER CURIAM.
We reverse the order denying defendant's post-conviction relief motion. The defendant should have been allowed to amend his motion to assert that the record shows that he is entitled to the credit for time served. The scoresheet attached to the order of May 20, 2010, does not address the question of credit for time served. If the court again denies the motion, it shall attach portions of the record demonstrating that the defendant is not entitled to the relief he seeks.
Reversed and remanded.
